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                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                                       ) Chapter 11
                                                             )
BOY SCOUTS OF AMERICA AND                                    ) Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1                                          )
                                                             ) (Jointly Administered)
                                     Debtors.                )
                                                       Objection Deadline: July 29, 2022 at 4:00 p.m.
                                                       Hearing Date: To be scheduled




            SIXTH QUARTERLY APPLICATION FOR COMPENSATION
            AND REIMBURSEMENT OF EXPENSES OF PASICH LLP, AS
        INSURANCE COUNSEL FOR THE TORT CLAIMANTS’ COMMITTEE
      FOR THE PERIOD FROM NOVEMBER 1, 2021 THROUGH JANUARY 31, 2022

                     Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively,

the “Bankruptcy Rules”), and the “Order (I) Approving Procedures for (A) Interim

Compensation and Reimbursement of Expenses of Retained Professionals and (B) Expense

Reimbursement for Official Committee Members and (II) Granting Related Relief,” signed on or

about April 6, 2020 (the “Administrative Order”) and the “Order Amending the Order (I)

Approving Procedures for (A) Interim Compensation and Reimbursement of Expenses of

Retained Professionals and (B) Expense Reimbursement for Official Committee Members and

(II) Granting Related Relief,” signed on or about August 6, 2021 [Docket No. 5899] (the

“Amended Administrative Order”), Pasich LLP (“Pasich” or the “Firm”), Insurance Counsel to

the Tort Claimants’ Committee (the “Committee”), hereby submits its Third Quarterly

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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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Application for Compensation and for Reimbursement of Expenses for the Period from

November 1, 2021 through January 31, 2022 (the “Application”).

                 By this Application Pasich seeks a monthly interim allowance of compensation in

the amount of $587,830.00 and actual and necessary expenses in the amount of $1,044.54 for a

total allowance of $588,874.54 and payment of the unpaid amount of such fees and expenses for

the period November 1, 2021 through January 31, 2022 (the “Interim Period”). In support of this

Application, Pasich respectfully represents as follows:

                                                Background

                 1.          On February 18, 2020 (the “Petition Date”), the Debtors commenced their

Chapter 11 cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy

Code. The Debtors have continued in possession of their property and continued to operate and

manage their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in the Debtors’ chapter 11 cases.

                 2.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about April 6, 2020, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit monthly applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein. On

or about August 6, 2021, the Court signed the Amended Administrative Order. The

Administrative Order, as amended by the Amended Administrative Order, provides, among other

things, that a Professional may submit monthly fee applications. If no objections are made



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within fourteen (14) days after service of the monthly fee application the Debtors are authorized

to pay the Professional eighty percent (80%) of the requested fees and one hundred percent

(100%) of the requested expenses. Beginning with the period ending April 30, 2020 and at

three-month intervals thereafter, each of the Professionals shall file and serve an interim

application for allowance of the amounts sought in its monthly fee applications for that period.

All fees and expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of Pasich, as Insurance Counsel to the Tort Claimants’

Committee, was approved effective as of May 12, 2020 by this Court’s “Order Pursuant to

Sections 328 and 1103 of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy

Procedure and Local Rule 2014-1 Authorizing the Employment and Retention of Pasich LLP as

Insurance Counsel for the Official Tort Claimants’ Committee Effective as of May 12, 2020,”

signed on or about June 17, 2020 (the “Retention Order”). The Retention Order authorized

Pasich to be compensated on an hourly basis and to be reimbursed for actual and necessary out-

of-pocket expenses. Pasich is employed as insurance counsel and has made and will make all

reasonable efforts to avoid duplication of work performed by the Committee’s other

professionals.

                 5.          Attorneys retained pursuant to sections 327, or 363 or 1103 of the

Bankruptcy Code (other than Ordinary Course Professionals) must comply with certain

requirements of the United States Trustee’s Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed under 11 U.S.C. §330 by Attorneys in

Larger Chapter 11 Cases (the “Revised UST Guidelines”). The Office of the United States



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Trustee has promulgated forms to aid in compliance with the Revised UST Guidelines. Charts

and tables based on such forms are attached hereto as exhibits and filled out with data to the

extent relevant to these cases: Exhibit “A”, Customary and Comparable Compensation

Disclosures with Fee Applications; Exhibit “B”, Summary of Timekeepers Included in this Fee

Application, Exhibit “C-1”, Budget; Exhibit “C-2”, Staffing Plan; Exhibit “D-1”, Summary of

Compensation Requested by Project Category; Exhibit “D-2”, Summary of Expense

Reimbursement Requested by Category; and Exhibit “E”, Summary Cover Sheet of Fee

Application.

                      PASICH’S APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                 6.          The monthly fee applications (the “Monthly Fee Applications”) for the

period November 1, 2021 through January 31, 2022 of Pasich have been filed and served

pursuant to the Amended Administrative Order.

                 7.          On or about January 7, 2022, Pasich filed its Eleventh Monthly

(Combined) Fee Application for Compensation and for Reimbursement of Expenses for the

Period from November 1, 2021 through December 31, 2021 (the “Eleventh Monthly Fee

Application”) requesting $464,326.50 in fees and $1,044.54 in expenses for services rendered.

Pursuant to the Amended Administrative Order, Pasich has been paid $372,505.74 of the fees

and $1,044.54 in expenses as requested in the Eleventh Monthly Fee Application. A true and

correct copy of the Ninth Monthly (Combined) Fee Application is attached hereto as Exhibit F.




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                 8.          On or about April 19, 2022, Pasich filed its Twelfth (Combined) Monthly

Fee Application for Compensation and for Reimbursement of Expenses for the Period from

January 1, 2022 through March 31, 2021 (the “Twelfth Monthly Fee Application”) requesting

$123,503.50 in fees and $0.00 in expenses for services rendered in January 2022. Pursuant to the

Amended Administrative Order, Pasich has been paid $98,802.80 of the fees requested in the

Twelfth Monthly Fee Application.2 A true and correct copy of the Ninth Monthly Fee

Application is attached hereto as Exhibit F.

                 9.          The Monthly Fee Applications covered by this Application contain

detailed daily time logs describing the actual and necessary services provided by Pasich during

the periods covered by such applications as well as other detailed information required to be

included in fee applications.

                                              Requested Relief

                 10.         By this Application, Pasich requests that the Court approve payment of

one-hundred percent (100%) of the fees and expenses incurred by Pasich during the Interim

Period of November 1, 2021 through January 31, 2022.

                 11.         At all relevant times, Pasich has not represented any party having an

interest adverse to these cases.

                 12.         All services for which Pasich requests compensation were performed for

or on behalf of the Committee.




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  The Twelfth Monthly Fee Application also included fees for services rendered in February and March 2022 but
those are not included in this Quarterly Fee Application.


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                 13.         Pasich has received no payment and no promises for payment from any

source other than the Debtors for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application. There is no agreement or

understanding between Pasich and any other person other than the partners of Pasich for the

sharing of compensation to be received for services rendered in these cases. Pasich did not

receive a retainer in this matter.

                 14.         The professional services and related expenses for which Pasich requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred

in connection with these cases.

                 15.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by Pasich is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, Pasich has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Amended Administrative Order and believes that

this Application complies with such Rule and Order.

                                        Statement from Pasich LLP

                 16.         Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed under the United States Code by Attorneys

in Larger Chapter 11 Cases, Pasich responds to the following questions regarding the

Application:



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                     Question                  Yes       No    Additional Explanation or
                                                               Clarification
 Did you agree to any variations from, or                 X
 alternatives to, your standard or customary
 billing rates, fees or terms for services
 pertaining to this engagement that were
 provided during the application period? If
 so, please explain.
 If the fees sought in this fee application as            X
 compared to the fees budgeted for the
 time period covered by this fee application
 higher by 10% or more, did you discuss
 the reasons for the variation with the
 client?
 Have any of the professionals included in                X
 this fee application varied their hourly rate
 based on the geographic location of the
 bankruptcy case?
 Does the fee application include time or                 X
 fees related to reviewing or revising time
 records or preparing, reviewing, or
 revising invoices?
 Does this fee application include time or     X               The time covered by this
 fees for reviewing time records to redact                     Application includes
 any privileged or other confidential                          approximately 1.5 hours with a
 information? If so, please quantify by                        value of approximately $930.00 to
 hours and fees.                                               ensure that time entries subject to
                                                               the application do not disclose
                                                               confidential or privileged
                                                               information. The review and
                                                               necessary redactions are a
                                                               necessary component of Pasich’s
                                                               fee application.




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                     Question                   Yes      No     Additional Explanation or
                                                                Clarification
 If the fee application includes any rate              X
 increases since retention in these Cases:
      i.     Did your client review and
             approve those rate increases in
             advance?
      ii.    Did your client agree when
             retaining the law firm to accept
             all future rate increases? If
             not, did you inform your client
             that they need not agree to
             modified rates or terms in
             order to have you continue the
             representation, consistent with
             ABA Formal Ethics Opinion
             11-458?

                 WHEREFORE, Pasich respectfully requests that the Court enter an order

providing that, for the period of November 1, 2021 through January 31, 2022, an interim

allowance be made to Pasich for compensation in the amount of $587,830.00 and actual and

necessary expenses in the amount of $1,044.54 for a total allowance of $588,874,54 be

authorized; and for such other and further relief as this Court deems proper.

Dated: July 15, 2022            PASICH LLP

                                      ___________________________
                                      By: Jeffrey L. Schulman

                                      Insurance Counsel to the Tort Claimants Committee




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                                              DECLARATION

STATE OF NEW YORK  :
                   :
COUNTY OF NEW YORK :

                 Jeffrey L. Schulman, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pasich LLP, and have been

admitted to appear before this Court.

                 b)          I am familiar with many of the legal services rendered by Pasich LLP as

Insurance Counsel to the Tort Claimants’ Committee.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2, the Administrative Order signed on or about April 6, 2020, and

the Amended Administrative Order signed on or about August 6, 2021, and submit that the

Application substantially complies with such Rule and Order.



                                                   /s/ Jeffrey L. Schulman
                                                          Jeffrey L. Schulman




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